Case 6:16-cr-00024-GAP-GJK Document 82 Filed 01/06/17 Page 1 of 38 PageID 841




                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                  ORLANDO DIVISION


   UNITED STATES OF AMERICA,

   v.                                                         Case No: 6:16-cr-24-Orl-31GJK

   JASON PHIFER,
   ________________________________/

                              SENTENCING MEMORANDUM

          Jason Phifer, submits his sentencing memorandum in support of his request for a

   sentence of minimal incarceration, a reasonable term of probation and or supervised

   release with appropriate conditions.   Such sentence reflects the nature and circumstances

   of Mr. Phifer’s offense, his history and characteristics and is “sufficient, but not greater

   than necessary” to achieve the purpose of sentencing enumerated in 18 U.S.C.

   § 3553(a)(2).

          In 34 years of life, Mr. Phifer maintained a minimal criminal history. Specifically,

   he only has two prior arrest and convictions prior to the instant offense. The first offense

   occurred when Mr. Phifer was nineteen years old. This offense was serious in nature and

   until the current offense, Mr. Phifer had not been involved in any additional felonious

   activities. Mr. Phifer has spent the majority of his life being a good son, father, friend and

   employee.

          Mr. Phifer is remorseful for coming before this Court to face punishment for his

   involvement in an offense that is still fairly new for the United States. Mr. Phifer

   respectfully requests that a sentence below the applicable guidelines is just and appropriate
Case 6:16-cr-00024-GAP-GJK Document 82 Filed 01/06/17 Page 2 of 38 PageID 842




   considering the nature and circumstances of the offense; his history and characteristics; the

   need for the sentence imposed to reflect the seriousness of the offense, promote respect for

   the law, provide general deterrence; and the kinds of sentences available.

                                     GUIDELINE CALCULATIONS

          The pre-sentence investigation report (“PSR”) has calculated Mr. Phifer’s

   guidelines as follows:

          USSG                    DESCRIPTION               LEVEL(S)             PSR

    § 2D1.1(c)(5)           Base offense level              30           ¶ 22

                            Criminal History Category III                ¶ 37


          With the above guideline calculations, Mr. Phifer has a guideline range of 121-151

   months. PSR ¶ 60. Mr. Phifer takes exception to the above calculations based on three

   specific objections: 1) Relevant Conduct Objection; 2) Ratio Objection; and 3) Acceptance

   of Responsibility Objection. Mr. Phifer incorporates by reference all objections stated in

   Doc. 75. Further, Mr. Phifer respectfully submits that irrespective to the applicable

   guidelines, the Court may not presume the guideline as reasonable. Gall v. United States,

   552 U.S. 38, 49 (2007).

          Courts should consider a multitude of circumstances prior to pronouncing sentence.

   Specifically, the courts are guided by 18 U.S.C. § 3553(a). In considering the factors

   listed, a judge is given great latitude in determining a reasonable sentence and a sentence

   will remain unless there is abuse-of discretion. Gall, at 46 (2007). Judges must give

   serious consideration to the extent of any departure from the Guidelines and must provide



                                                     2
Case 6:16-cr-00024-GAP-GJK Document 82 Filed 01/06/17 Page 3 of 38 PageID 843




   explanation as to why it is appropriate to grant an unusually lenient sentence. Id at 47. A

   court is not required to show extraordinary circumstances, or provide a rigid mathematical

   formula to justify a sentence outside of the Guidelines range. Id. Whether departing

   slightly or significantly, it is sufficient that the Court take into consideration the factors

   listed in 18 U.S.C. § 3553(a) and provide a reasonable explanation for its decision. Id at

   50.

                                 RELEVANT CONDUCT OBJECTION

          Mr. Phifer objects to being held responsible for the 5.25 kilogroms of Ethylone.

   PSR ¶¶ 13-16. Incorporating by reference all objections made in Doc. 75, Mr. Phifer

   reiterates the following:

   “During the commission of the offense of conviction”

          Mr. Phifer did not possess with intent to distribute the additional 3.75 kilograms of

   Ethylone during the commission of the offense of conviction.

   “In preparation for that offense”

          The 3.75 kilograms of Ethylone were not ordered in preparation for the offense of

   conviction. Each transaction was a separate instance that had no connection to the next.

   “In the course of attempting to avoid detection or responsibility for that offense”

          The government has not submitted any evidence that the orders of Ethylone prior to

   May 20, 2015, were done in an effort to attempt avoiding detection or responsibility for that

   offense.

                                        RATIO OBJECTION

          Mr. Phifer objects to the 500: 1 ratio being used to calculate the guidelines and


                                                     3
Case 6:16-cr-00024-GAP-GJK Document 82 Filed 01/06/17 Page 4 of 38 PageID 844




   Ethylone being treated as equivalent to MDEA for purposes of converting it to its

   marijuana equivalency. The United States probation office has not provided any detailed

   information as to why the Court should calculate the marijuana equivalency at 500:1. Mr.

   Phifer argues the correct ratio is 200: 1 or lower. Mr. Phifer has submitted the expert

   report of Dr. Gregory Dudley which explains in great detail how Ethylone is less potent

   and not substantially similar to MDEA, thus allowing for a lower ratio than 200:1. The

   Government        claims    that    this   is    an    analogous     drug     to    3,   4

   Methaline-Dioxy-Methamphetamine (MDMA) with a recommended Marijuana ratio of

   500:1.

            Some other courts in the Middle District of Florida have rejected the government’s

   position. Instead the courts have accepted that Ethylone deserves a ratio lower than 500:1.

   Here, Mr. Phifer seeks a 200:1 ratio or lower and points to Judge Scriven's Sentencing

   Order in United States v. Johns McGuire, 8:13-cr-421-T-35-TGW. There, after much

   thought, argument, and testimony Judge Scriven found MDMA should be a 400:1 ratio

   and since Methylene being 50% as potent as MDMA at 200: 1. Other district court judges

   in the Middle District of Florida have weighed in on this issue: 1) Judge Sharp in United

   States v. Matthew Anthony Grant, 6:15-cr-00248-6KS-KRS, adopted a Ethylone Ratio of

   200:1; United States v. Nicholas Pangourelias,        8:14-CR-303-T-23EAJ, Methylene,

   Judge Merryday found 500: 1, stating he is not likely to go under this ratio until USSC

   speaks directly to synthetic cathinones, in United States v. Donald Caldwell,

   8:14-CR-387-T-33TBM, Judge Covington found 50% potency of MDMA at 250:1 as a

   guideline change; United States v. Ferenc Palfalvi, 2:14-CR-79-FtM-38DNF, Judge


                                                    4
Case 6:16-cr-00024-GAP-GJK Document 82 Filed 01/06/17 Page 5 of 38 PageID 845




   Chappell found 250:1 as a guideline change for Ethylone at (50% of MDEA's ratio); in

   United States v. Matthew Meredith, 8:14-CR-505-T-35AEP , Judge Scriven found 200 :1

   as a 3553 variance (argument that ethylene is more substantially similar to methylene,

   which the Court previously found to be 200: 1 in McGuire).

          As detailed below, in the majority of the cases concerning Ethylone, the defendants

   received a lower sentence than originally anticipated by the PSR recommendation.

         Case          PSR Calculation              PSR            Sentencing     Sentence
                                              Recommendation          Date
    Joshua Alex       500 gm Ethylone        Did not receive a     9/30/2016      46
    Warner            497 gm Alpha-PVP       variance.                            months
    6:16-cr-00016-
    PGB
    Judge Byron
    Matthew           998.3 gm Ethylone      TOL 23                8/25/2016      41
    Anthony Grant                            CH II                                months
    6:15-cr-00248-                           51 - 63 months
    GKS
    Judge Sharp
    Matthew           1,904 gm Ethylone    TOL 23                  3/8/2016       36
    Meredith          488 ml Liq. Steroids CH I                                   months
    8:14-cr-00505-    93.1 gm Power        46 – 57 months
    MSS               Steriods
    Judge Scriven
    Tampa
    Ference           493.9 gm Ethylone      TOL 21                6/2/2015       30
    Palfalvi                                 CH I                                 months
    2:14-cr-00079-                           37 - 46 months
    SPC
    Judge Chappell
    – Ft. Myers
    Donald            Ethylone                                     2/2/2015       27
    Caldwell                                                                      months
    8:14-cr-00387-
    VMC
    Judge
    Covington
    Tampa

                                                  5
Case 6:16-cr-00024-GAP-GJK Document 82 Filed 01/06/17 Page 6 of 38 PageID 846




                           ACCEPTANCE OF RESPONSIBILITY OBJECTION

          Mr. Phifer objects to not receiving a three-level reduction for acceptance of

   responsibility. “A defendant is entitled to a two-level reduction        if   he   “clearly

   demonstrates     acceptance     of    responsibility   for    his    offense.”     U.S.S.G.

   § 3E1.1(a). The commentary to § 3E1.1 indicates that in the “rare situation[ ]” that a

   defendant proceeds to trial “to assert and preserve issues that do not relate to factual

   guilt,” the defendant may be entitled to an acceptance of responsibility reduction if his

   “pre-trial statements and conduct” demonstrate that he has accepted responsibility.

   U.S.S.G. § 3E1.1 cmt. n. 2 (emphasis added).

          However, that commentary also provides that a defendant who denies the

   “essential factual elements of guilt” at trial is not entitled to an acceptance of

   responsibility reduction. Id.; United States v. Smith, 7 F. App’x. 772 (9th Cir. 2001);

   United States. v. Estrada-Martinez, 11 F. App’x. 725 (9th Cir. 2001).

          Mr. Phifer clearly demonstrated his acceptance of responsibility as detailed in

   paragraphs 5-12 of the PSR. Pre-trial, Mr. Phifer admitted that he possessed Ethylone and

   intended to distribute the Ethylone. Furthermore, at trial, Mr. Phifer did not deny his

   involvement with purchasing Ethylone from his source in China with the intent to

   distribute it upon possession. Mr. Phifer’s defense at trail was whether Ethylone is a

   controlled substance as a matter of law.

          The government argued in Doc. 76, that Mr. Phifer is not entitled to a reduction for

   acceptance of responsibility based on trial and post-trial statements.        However, the

   commentary is clear that the Court may look to pre-trial behavior in determining the


                                                   6
Case 6:16-cr-00024-GAP-GJK Document 82 Filed 01/06/17 Page 7 of 38 PageID 847




   reduction.   Mr. Phifer asserts that a legal argument was offered at trial and he should not

   be penalized for exercising his constitutional right. At a minimum, Mr. Phifer should be

   entitled to a two-level reduction for his pretrial statements and conduct.

                                       18 U.S.C. §3553(a)

          The Eleventh Circuit has held that a two-step procedure should be used by District

   Court Judges in imposing sentences in accordance with United States v. Booker, 543 U.S.

   220, 125 S. Ct. 738 (2004). See United States v. Talley, 431 F.3d 784 (11th Cir. 2005) and

   United States v. Williams, 456 F.3d 153 (11th Cir. 2006). The District Court has been

   advised to first consult the Guidelines and correctly calculate its range and second the

   Court "must consider" ten enumerated factors "to determine a reasonable sentence." See

   Talley at 786.

          Such factors are:

           1. The nature and circumstance of the offense and the history and
               characteristics of the defendant;
           2. The need to reflect the seriousness of the offense, to promote respect for the
               law, and to provide just punishment for the offense;
           3. The need for deterrence;
           4. The need to protect the public;
           5. The need to provide the defendant with needed educational
               vocational training or medical care;
           6. The kinds of sentences available;
           7. The Sentencing Guidelines Range;
           8. Pertinent police statements of the Sentencing Commission;
           9. The need to avoid unwarranted sentencing disparities; and
           10. The need to provide resolution to victims.

          Further, 18 U.S.C. § 3553(a) directs the Sentencing Court to meet out sentences

   which should be “sufficient, but not greater than necessary” to achieve the purpose of

   sentencing. The guideline range is only one of at least ten considerations that assist the


                                                     7
Case 6:16-cr-00024-GAP-GJK Document 82 Filed 01/06/17 Page 8 of 38 PageID 848




   District Court Judge in sentencing; thus, giving the Court wide discretion in determining

   a fair and just sentence. The Court of Appeals will not disturb a sentence on appeal as

   long as the District Judge correctly calculates the guidelines and tailors a sentence to

   § 3553 factors and reasons. Mr. Phifer respectfully summits that § 3553(a) factors are

   present in the instant case.

                            Nature and Circumstances of the Offense

          Mr. Phifer ordered a package of Ethylone from a source in China. PSR ¶ 14.

   This package was intercepted by the United States Immigration and Customs

   Enforcement Homeland Security Investigations. PSR ¶ 6.        On May 20, 2015, the Postal

   Inspector delivered the package to Mr. Phifer’s residence. PSR ¶ 7. Mr. Phifer took the

   package, which contained 1.5 kilograms of Ethylone. PSR ¶ 8. Mr. Phifer spoke with

   officers and confessed that his intent was to possess the Ethylone with the intent to

   distribute. PSR ¶ 9.

                            Mr. Phifer’s History and Characteristics

          Born in a home filled with love and religion, how does one go astray? Mr. Phifer

   comes from a family that shows respect for law and order. Even some of his family

   members are law enforcement. See Ex. A. Thus, is it fair to say that Mr. Phifer was

   failed by his family, which led him to engage in criminal behavior? Mr. Phifer submits to

   the Court that it is not fair to say such. Mr. Phifer was born to the consensual relationship

   of William Phifer and Alice Perkins. PSR ¶ 42. Mr. Phifer was reared by both parents

   even in the absence of his parents’ cohabitating or being married. PSR ¶ 43. Mr. Phifer

   would spend his childhood residing in both North Babylon, New York and Atlanta,


                                                    8
Case 6:16-cr-00024-GAP-GJK Document 82 Filed 01/06/17 Page 9 of 38 PageID 849




   Georgia. Id.

          Upon graduation from high school, Mr. Phifer received the Hope Scholarship in

   Georgia, allotting a full college scholarship to any school in Georgia. PSR ¶ 50. His

   whole future was ahead of him and after only two years, Mr. Phifer made a mistake that

   landed him in prison.       PSR ¶¶ 33, 50.       He successfully completed his term of

   incarceration in 2008 and parole in 2013. PSR ¶ 33. Mr. Phifer’s father believed that his

   son had put his past behind him and was on a clear road to success. PSR ¶ 46, Ex. A.

          Although Mr. Phifer is facing punishment for this offense, the crime does not

   eliminate the positive impact that Mr. Phifer has impressed on the lives of others. As

   exhibited in the letters from family, friends and co-workers, Mr. Phifer is an individual

   whom provides support to others.

              Need for the Sentence Imposed to Reflect the Seriousness of the Offense, to

         Promote Respect for the Law, and to Provide Just Punishment for the Offense

          The sentence the Court imposes needs to reflect the seriousness of the offense

   without overstating the crime. Possessing any drug with the intent to distribute is a

   serious offense.    Congress recognized that some drugs require minimal terms of

   incarceration where others do not. Specifically, Congress had determined that cases

   involving schedule I or schedule II substances do not mandate a term of incarceration. 21

   U.S.C. § 841(b)(1)(C). In this case, the Court can be assured that a sentence below the

   guidelines will reflect the seriousness of the offense.

          The Court is also required to consider whether the punishment will promote respect

   for the law. In consideration of this requirement, Mr. Phifer directs the Court to his


                                                     9
Case 6:16-cr-00024-GAP-GJK Document 82 Filed 01/06/17 Page 10 of 38 PageID 850




   behavior upon arrest and his admission of involvement with intent to distribute Ethylone.

          What sentence is adequate to provide just punishment for this offense? Mr. Phifer

   is unable to answer this question for the Court but submits that a sentence below the

   guidelines would be just punishment for Mr. Phifer.

                                       General Deterrence

          Imprisonment within the guidelines range is not necessary to further the § 3553

   factor of general deterrence since there is no correlation between punishment and

   reductions in crime. See Gary Kleck and J.C. Barnes, Deterrence and Macro-Level

   Perceptions of Punishment Risks: Is There a "Collective Wisdom"?, 59 Crime &

   Delinquency 1006, 1031-33 (2013). Kleck and Barnes’ study concludes:

                  [T]here is generally no significant association between
                  perceptions of punishment levels and the actual levels of
                  punishment that the criminal justice system achieves. This in
                  turn implies that increases in punishment levels do not
                  routinely reduce crime through general deterrence
                  mechanisms, because the fundamental link between actual
                  punishment levels and perceptions of punishment levels
                  appears to be weak to nonexistent. Id. at 1031.

          The United States Department of Justice agrees with the conclusion that

   incarcerating defendants is not an effective means of deterrence. See, U.S. Dept. of Justice,

   Nat’l Inst. of Justice, Five Things about Deterrence (July 2014). In fact, the Department of

   Justice finds that even increasing the severity of punishment does little to deter

   punishment. Id.

          Based on the foregoing, Mr. Phifer respectfully submits that incarceration below the

   applicable guideline range adequately addresses any concern regarding general deterrence.



                                                    10
Case 6:16-cr-00024-GAP-GJK Document 82 Filed 01/06/17 Page 11 of 38 PageID 851




                                The Kinds of Sentences Available

          21 U.S.C. § 841(b)(1)(C) does not require the Court to incarcerate Mr. Phifer.

   Thus, the Court is at liberty to use its discretion in sentencing Mr. Phifer to sentence below

   the guidelines including a sentence of probation.

                                            Conclusion

          Mr. Phifer begs upon the Court to consider varying from the applicable guideline

   range and fashioning a sentence below the guidelines. Given Mr. Phifers’s cooperation

   with authorities in the beginning of the investigation, his minimal criminal history and his

   extensive support system, a guideline range would be “greater than necessary, to comply

   [with the goals of sentencing established by Congress].” 18 U.S.C. § 3553(a).



                                                         Respectfully submitted,

                                                         DONNA LEE ELM
                                                         FEDERAL DEFENDER

                                                         s/ Alisha Marie Scott
                                                         Alisha Marie Scott
                                                         Assistant Federal Defender
                                                         Georgia Bar No. 806033
                                                         201 South Orange Avenue, Suite 300
                                                         Orlando, Florida 32801
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                                                    11
Case 6:16-cr-00024-GAP-GJK Document 82 Filed 01/06/17 Page 12 of 38 PageID 852




                                CERTIFICATE OF SERVICE

          I hereby certify that the undersigned electronically filed the foregoing Sentencing

   Memorandum with the Clerk of Court by using the CM/ECF system, which will send a

   notice of electronic filing to Vincent Chiu, Assistant United States Attorney, this the 6

   day of January, 2017.

                                                       /s/ Alisha Marie Scott
                                                       Attorney for Jason Phifer




                                                  12
Case 6:16-cr-00024-GAP-GJK Document 82 Filed 01/06/17 Page 13 of 38 PageID 853



 December 3, 2016                                                                               Ex. A

 Honorable Judge Gregory Presnell.

 I am writing on behalf of my son Jason Alexander Phifer and to appeal for leniency in his sentencing. My
 name is Alice Perkins and Jason is my only child. I am a professional woman, having earned an
 accounting degree from Georgia State University and a master’s degree in Banking and Finance from
 Boston University. I am also a CPA. Currently I am the Director of Finance and Revenue for The
 Riverside Church located in New York City’s Morningside neighborhood. Previously I was the CFO for a
 healthcare partnership in NY. I am successful and believe in mentoring other young adults to influence
 their lives and careers in a positive way. Currently I am mentoring a young accounting student and also
 a CPA who is in the early stages of her career. I am also a mentor to my niece and Jason’s cousin who
 has started a business selling custom jewelry over the internet and through Facebook. She told me that
 as a result of my involvement with her, her business has begun to flourish and she is doing amazing
 things she never thought she could have previously. I also spend many hours counseling friends and
 even colleagues about the importance of budgeting, saving and being good stewards of their money. I
 believe it is very important to help wherever I can with the God given gifts and talents that I have been
 given.

 A little background on Jason includes that Jason received a full scholarship for any college in the State of
 Georgia and was also invited to WestPoint to apply as a Cadet for this prestigious institution. He had
 support of many influential leaders in the community including his Uncle Maurice Perkins, who, at the
 time, was the President of 100 Black Men in Long Island NY. Jason knows that that would have lead him
 to being a contributing member of society much sooner. I say “much sooner” because he has been a
 contributing member, but the timing took longer than it should have, considering his level of
 intelligence. I believe that Jason’s sheltered upbringing made him curious to get away from the strict
 upbringing, to test the water. I do not know why certain children will do this where as others will follow
 their parents lead every step of the way. However as of the time of his last arrest, the case for which
 you are sentencing him, he was so afraid and understood that his actions were serious and he
 immediately stopped engaging in the activity and returned to gainful employment that allowed him to
 use his entrepreneurial and marketing skills to support his family. Jason was doing so well at the time of
 his conviction. Jason has been an entrepreneur since he was a little boy. I still remember him going to
 the neighbor’s house to sell his books and toys to the younger neighborhood kids in Atlanta. However,
Case 6:16-cr-00024-GAP-GJK Document 82 Filed 01/06/17 Page 14 of 38 PageID 854



 he would also give the books away to needy kids, kids that did not have the same means that Jason’s
 parents had.

 I would like for you to consider, in sentencing my son, my 5 year old grandson Kingsley who adores his
 Dad, and to whom Jason is a very involved and supportive father. At this time, I believe, Kingsley does
 not know that his father is imprisoned and I know once he does find out, it can have a negative impact
 on him. He is crying out to me to ask his father to come and get him, to take him to his house. He does
 not understand why his daddy is not coming. However, I think that if he were sentenced to a shorter
 time, the long term impact would be averted and Jason can continue to provide the financial and
 emotional support he needs in order to help steer towards positive development. I know that Jason has
 learned from this. I hope that you can sense his sorrow for what he has done and his naïve involvement
 in what was a short few month attempt at quick money to fund a business he was starting. I also hope
 that you will consider, most importantly, the need for his son to have his father nearby and supporting
 him. For Jason to be able to attend the father son events at school and to continue the father son
 bonding experience that he will surely miss is he is away for a long time. Jason is truly sorry for what he
 has done and I hope and pray that you will give him a short sentence, house arrest or probation. Jason is
 a very good father, having had an excellent though “no nonsense” father. He comes from a very good
 family and he has the support he needs to be successful. A long sentence will only serve to impact his
 current and future ability to be there to support and teach his son, to help mold his son towards the
 path of success. A father is very important to a young son. Please do not sentence my son to a long
 sentence. Jason has told me that after this he knows that he will be a model citizen, giving back to
 society and by being involved in helping at risk youth to help them learn by his mistakes. He has asked
 for my help in starting different not for profit businesses where he can make an impact. He is sincere.
 Of course I have agreed. If I didn’t believe in Jason, I would not ask you, but I do so I ask….Please do not
 sentence my son to a long sentence.

 Thank you very much for your consideration.




 Alice Perkins
Case 6:16-cr-00024-GAP-GJK Document 82 Filed 01/06/17 Page 15 of 38 PageID 855
Case 6:16-cr-00024-GAP-GJK Document 82 Filed 01/06/17 Page 16 of 38 PageID 856




  To:

  The Honorable District Court Judge Gregory A.Presnell
  401 West Central Boulevard
  Orlando,Florida 32801


  Your Honor,

  I m writing on the behalf of Jason Phifer and his upcoming sentencing on December 5,2016. I'm
  '
  hoping this letter of character doesn't go without notice.

   My name is Princess Michele Holmes; single mother of Salandeen Ashe and Kingsley Phifer.
  Jason and I have known one another well over six years. I met him as a friend; whom I came to
  love. Jason came into my life at a very difficult time; being alone as a first time mother isn't any
  walk in the park. He came with an open heart and took my oldest son in as his own, providing
  for him in every way. Jason taught Salandeen how to ride his bike without training wheels, read
  and write, and even attended his parent teacher conferences to discuss and create a plan of
  success for him.

  Together we were strong and I was convinced he was the one for me. Now,Jason and I have a
  son together, Kingsley, who has just turned five years old. I'm grateful for every moment he's
  been able to share with his father. It only breaks my heart to think of all that Jason will miss
  with his biological son. Now I'm left asking myself who will show him how to do the tie his
  shoelaces or pick him up when he skins his knee?

  I understand Jason has been convicted of Possession with intent to distribute a controlled
  substance. I do not condone his behavior in any way; nor do I know what may have led to his
  poor decision making. I've been speaking with him and am certain that he realizes the choices
  that he's made do not only affect him, but all of us. twill continue to support him and
  encourage him to progress in a positive direction. For the sake of our sons, I ask that any and all
  possibilities of a lesser sentence be considered.

  Thank you for your time your Honor.

  Respe




  Prin e s     Holmes
  630 Loffler Circle SE
  Palm Bay, Florida 32909
Case 6:16-cr-00024-GAP-GJK Document 82 Filed 01/06/17 Page 17 of 38 PageID 857




                                                                   303rd Avenue
                                                                   Brooklyn,New York 11217
                                                                   Apt 1074
                                                                   Cell #917.604.2269



The Honorable District Court Judge Gregory A.Presnell
401 West Central Boulevard
Orlando,Florida 32801

Dear Judge Presnell,
  My name is Dianne Perkins. I am Jason Phifer's aunt. His mother Alice is
my sister. I have lived in Brooklyn at the above address since 2005. I've worked at the
post office full time from 1985-2008. I started working at my currentjob,NYCTA,in
2006. At one time I worked on bothjobs full time for about three years. I am a mother
ofone, a grandmother of three. I have 2.5 years of college under my belt and plan to go back this
summer.
  My nephew,Jason is a highly intelligent,good humored kind man. He has two beautiful young
boys who he dearly loves. During a moment of stupidity and weakness he allowed himselfto
think making fast money in this manner was a good
idea. I was so surprised and then angry to hear that he got involved in such a crime.
This was so out of character for Jason.
 There is no denying that Jason was wrong. He is a grown man who made
a bad decision and therefore has to deal with the consequences.
 I only ask that mercy is shown during the sentencing. We are a large family who are law
abiding. Matter offact there are several of us who are in law enforcement. I pray that you will
show my nephew some mercy.

Respectfully,
D. e Perkins

     jaPIAL---Wklia/
Case 6:16-cr-00024-GAP-GJK Document 82 Filed 01/06/17 Page 18 of 38 PageID 858




       Edward A. Brown

       214-773-5682   EdAtTheAirport@yahoo.com   7612 Craig Street Fort Worth, Texas 76112




       December 29, 2016

       The Honorable Judge Gregory Presnell
       United States District Court
       401 W. Central Blvd.
       Orlando, Florida 32801

       Good Morning Your Honor:

       I write in support of my cousin Jason Phifer, who is before you for sentencing. I have been
       a commercial airline pilot since 1991. While I am employed as a Captain on a private jet, I
       have recently been sidelined with cancer. Jason's mother Alice Perkins has been my best
       friend and favorite cousin since Jason was born. I am close family to him. I am also the
       family Republican. I am the Chairman of Precinct 1311 of the Republican Party of Texas,
       and an activist on many issues and campaigns.

       Most of my time with Jason was during his younger years - grade school age. Jason was
       an inquisitive sort, absorbing all of the things that his older cousin taught him. Once, he
       needed an idea for a school project. I suggested that he present the idea of President
       Reagan's "Star Wars" program to his class. As you may remember, Star Wars was a system
       with rockets, and missiles, and a virtual shield to defend our country from attack. While
       there was some family opposition to my pushing a Republican idea in the Atlanta school
       system (oh my!), Jason was impressed and did well on his assignment.

       In recent times, I found myself fielding political questions once again. In the year prior to
       his trial, Jason called me regularly wanting to hear my rebuttals on today's issues, very
       respectfully absorbing a view that is different from what he was exposed to. I greatly
       enjoyed conversing with the adult Jason about adult issues, perhaps even changing his
       view on a few things. I think I was slowly moving him my way.

       Regardless of anyone's political affiliation, I hope everyone recognizes the importance of
       fathers in the black community. It is on this ground that I appeal to your leniency. You are
       doubtlessly in possession of testimonies describing Jason's relationship with his son,
       Kingsley. Notwithstanding his wrong in this case, Jason is an outstanding father! While a
       conservative such as myself recognizes the job that a federal judge must do, I ask for the
       greatest leeway that the law allows, so that the deprivation of young Kingsley is minimized.
       Speaking from a Black perspective, Your Honor, we just cannot afford to waste a good dad.
Case 6:16-cr-00024-GAP-GJK Document 82 Filed 01/06/17 Page 19 of 38 PageID 859




       I'd like to plead one other item, if you will allow me the latitude. Jason has never been a
       mean spirited person, nor a disrespectful snot, nor violent in any way. He honestly is a nice
       person to be around. As I have read some of the pleadings in this case, I note that Jason's
       actions did not include anything violent, nor interactions with violent people. He was
       completely cooperative with authorities, simply erring it seems, in thinking that the
       product he was selling was legal. I'm not pleading ignorance of the law, but rather that
       Jason Phifer is not a threat to society that you need to keep off the streets. Perhaps he was
       a little too duped by the allure of "easy" money. Perhaps instead of a long prison sentence,
       we instead need to sharpen his judgment on his entrepreneurial endeavors.

       With the greatest respect,




       Edward A. Brown
Case 6:16-cr-00024-GAP-GJK Document 82 Filed 01/06/17 Page 20 of 38 PageID 860


To whom it may concern,
My name is Latonja Perkins. I am Jason Phifers first cousin. I've known Jason all my
life; we grew up together. We've gone from taking baths together when we were
toddlers to raising our own children. I must say that Jason is a phenomenal father to his
son Kingsley. I've watched him teach, guide and support his son. For example, he
turns many lessons into fun teachable moments, points Kingsley in the right direction
and always has his back. I know Jason didn't make the right decision and I will never
make excuses for his actions, but I would hate for Kingsley to live the majority of his life
without his father. Your honor, if this letter reaches you in time, please consider a
lesser sentence for Jason. I'm sure it will mean the world to Kingsley.

Res\_ctti.4Ii

Latonja Perkins
Case 6:16-cr-00024-GAP-GJK Document 82 Filed 01/06/17 Page 21 of 38 PageID 861




                                      Charlie Davis III
                                        120 Co Op City Blvd.
                                             Suite 19 D
                                         Bronx, NY 10475



 November 17, 2016


 The Honorable District Court Judge Gregory A. Presnell
 401 West Central Boulevard
 Orlando, Florida 32801


 Dear Judge Presnell:

 This correspondence is on behalf of Mr. Jason Phifer who is appearing before your court due to
 possession of a controlled substance with intent to distribute.

 I have worked for the New York State Office of Children and Family Services formerly known as
 NY State Division for Youth for approximately twenty two years. This government agency is a
 juvenile correctional agency in the state of New York. I am employed under the auspices of the
 Division of Juvenile Justice and Opportunities for Youth (DJJOY). This division deals with the
 rehabilitation of juvenile offenders and delinquents. Also I am a father of four children who are
 now adults; one young woman and three young men. They are the product of a thirty plus year
 relationship and twenty three year marriage. All have attended college and two are college
 graduates. I take much pride in being a grandfather to a very precocious 5 year old boy.

 In my community I have remained very active in attempting to discourage young people from
 making choices that can create bad circumstances for them in many ways, legal being the most
 impactful. I have sat on a number of nonprofit boards and coached in community and civic
 leagues, baseball, basketball, soccer, and football. I initiated a chess club in Harlem, NY as well
 as bringing a chess program to the facility where I am employed as a direct care giver for
 juvenile delinquents. My desire and passion is to assist in rehabilitating youth and to also
 prevent youth from deviant and criminal behavior.

 I was given the good fortune of meeting Jason, through his mother Ms. Alice Perkins. Alice is a
 wonderful and involved mother and grandmother who openly shows her concern and affection
 for Jason and Jason’s son. Jason and I have been friends for approximately two years. I
 observed Jason as he interacted with his son and family members on many occasions. I found
 Jason to be articulate, affable and a concerned father. The relationship that Jason shares with
 Kingsley is admirable and inspiring. His relationship and interaction reminded me dearly of my
Case 6:16-cr-00024-GAP-GJK Document 82 Filed 01/06/17 Page 22 of 38 PageID 862



 relationship with my own father and with my sons. Quite often I would engage Jason in
 conversation and I became impressed with his keen intellect and desire to excel. Jason’s
 outlook was very optimistic and he began to speak of life in very positive terms, as it related to
 his goals and his responsibility as a father. Often times can be quite challenging to grow and
 become a man, it is perhaps more daunting to raise a boy into a man. I was encouraged with
 Jason's positive outlook and determination to take setbacks and form them into setups for
 success. His current circumstances are looming over his positive redemptive perspective. It is
 difficult to navigate through life and Jason whilst making a poor choice as it relates to the
 conviction that he is now faced with has demonstrated with his behavior and demeanor that he
 can and wants to be a positive contributor to society. Kingsley will undoubtedly suffer as he is
 now suffering from the absence of his father, not the individual who made this mistake. Yet the
 doting and concerned father that he has grown accustomed to.

 Jason interacts and is endeared by many of his family members as he is by me. In such a short
 duration of time we had numerous and almost endless discussions that allowed me to truly
 ascertain a profound understanding of Jason’s character and constitution. If given an
 opportunity, without too much disruption, I am confident that Jason will continue to grow and
 become a productive member of society in a very meaningful way. He has displayed sincere and
 natural leadership capabilities.

 My work with juveniles who are incarcerated has given me much insight and experience with
 how individuals once they have come to a resolve and resolution with encouragement
 And support can ameliorate their circumstances. Jason has in my opinion demonstrated and
 exhibited redemptive qualities and shown his commitment to his son as valuable and essential.
 I have pledge my support and unequivocal friendship to Jason. I belief in him as a son, father,
 and man.

 Respectfully,

 I
 Charlie Davis III
Case 6:16-cr-00024-GAP-GJK Document 82 Filed 01/06/17 Page 23 of 38 PageID 863


                                    Vicki Carew
                        4575 Birdie Lane,Atlanta,GA 30331
                  Phone:404.580.5541•Email: carewvic@gmail.com


 November 7,2016


The Honorable District Court Judge Gregory A. Presnell
401 West Central Boulevard
Orlando, FL 32801


 Dear Judge Presnell.

My name is Vicki Carew and lam writing this letter on behalf ofJason Phifer whom I have
known since 2002. Jason's mom,Alice Perkins,is a very close friend of mine,someone who
is more a sister than a friend to me and a favorite aunt to my 17-year-old daughter.

Alice and I met in 2002,as colleagues at Project GRAD Atlanta where she was responsible
for all ofthe organization's financial operations and oversight,and I developed and led
GRAD's College Support program that provided direct support for students enrolled at 72
colleges nationwide. On the morning of Saturday, April 21,2006,I was visiting Alice at her
home when I saw a "For Sale" sign on the lawn ofthe house across the street from her. I
had recently filed for divorce from an 11 year marriage and I was looking for a home for my
daughter and me. Two days later, on Monday morning,I made an offer on the house and on
June 2, 2006,I closed on the house,which is still home to my daughter and me.

Living in such close proximity to my best friend provided an opportunity for Alice's and my
family to grow closer and I got to know Jason even better. I have always known Jason to be
a doting son to Alice, and a very caring, well mannered,generous,and supportive friend to
my daughter and me. That was always invaluable to me,as a single mom and working
professional. As an only child and a young man who was trying to navigate the challenges
of growing up,Jason always seemed introspective and determined to do his part to ease the
financial responsibilities of a mom who sacrificed so much for him. This self-imposed
pressure to help his mother is partly why I think Jason was so driven to so something,
sometimes causing him to make less than wise choices. He has always been a kind kid at
heart, with no malice.

Since he became a father, I have been so impressed and inspired by Jason's adoration for
and dedication to his young son, Kingsley. When they are together it is as though no one
else exists. Jason's whole soul seems to come alive. When they are apart, Jason always finds
ways to incorporate Kingsley into every conversation, making it plain that his son has given
him a renewed sense of purpose. As a daddy's girl who was the apple of my dad's eye until
his death three years ago, I recognize the look in Jason's eyes when he looks at Kingsley.
That is the loving and reassuring look that I believe every child should be so fortunate to
Case 6:16-cr-00024-GAP-GJK Document 82 Filed 01/06/17 Page 24 of 38 PageID 864


 have. It is the look that says you can accomplish anything,the look I have no doubt lights
 up the beautiful spark in Kingsley's eyes.

 Your honor,I am aware that Jason has been found guilty of possessing a controlled
 substance with the intention to distribute. While I am disappointed and heartbroken, I do
 not condone Jason's behavior or activities. I have said that no matter the pressures to
 provide for his family,this behavior is unacceptable. Since 1993 when I started working at
 Morehouse College, in Atlanta Georgia,to my current role as Director of Unit Development
at Morehouse School of Medicine, I have had the invaluable opportunity to work with lots
of young men like Jason, who while driven to be productive,sometimes make poor choices.
I spent six years at Morehouse College where among other things, I developed and led a
leadership program for young men and started the college's service learning program. In
my subsequent seven years at Project GRAD Atlanta, leading college support efforts, I
continued my work with youth many of whom were first-generation students. I then
served as Executive Director for the Georgia Perimeter College Foundation for 7 years
before joining Morehouse School of Medicine last December. A great number ofthe young
people I was blessed to work with throughout my career are living successful,fulfilling
lives and are still an active part of my life.

While serving on the board of Our Family Table Foundation, I contributed to the
organization's work to support young men who had been introduced to the juvenile justice
system. One ofthose young men just turned 31 on November 10, and is now a probation
officer with Fulton County Department of Corrections. As I provided Darnell's
recommendation for that position, I was reminded of how much each ofthese young men
have blessed my life by allowing me to be part of their transformation and life journey.
With the same spirit of faith that fuels my work,I have not lost hope in the promise for
Jason's life to be a testimony to others and especially for him to be that stalwart of a father
that Kingsley needs.

I humbly ask, your honor,for leniency as you consider your sentence for Jason. I stand on
behalf of my dear friend, Alice,for our dear Kingsley, and for Jason as well. I strongly
believe that this experience and the prospect of his choices negatively impacting Kingsley's
life will be the catalyst for him to live a life we can all be proud of. I will continue to stand in
full support of Alice and provide as much love and consolation as I can. She is really having
a tough time once again, questioning everything she has done as a mother even though I
know first hand that she has been such an amazing mom who has sacrificed so much for
Jason.

Thank you,Judge Presnell,for your consideration of my plea for mercy for Jason.

Respectfully,



Vicki Carew
Case 6:16-cr-00024-GAP-GJK Document 82 Filed 01/06/17 Page 25 of 38 PageID 865



 11 November 2016

 The Honorable District Court Judge Gregory A. Presnell
 401 West Central Boulevard
 Orlando, Florida 32801

 Your Honor,

 My name is Karen Joyce Gurley and I reside in Atlanta, GA where I have lived for most of my 52 years of
 life. I work as a marketing professional for AT&T and I am experienced in marketing, finance and
 technology. I received my undergraduate degree from Georgia State University and my MBA from Wake
 Forest University. I am single and never married and I have a beautiful 13 year old four legged daughter
 that I love dearly.

 I am writing a character reference for my young friend, Jason Phifer, who is before your court for being
 convicted of possession with intent to distribute a controlled substance. His mother first informed me
 several weeks ago during a conversation and I was deeply sadden because I DO NOT condone this
 behavior. However, I love Jason as if he is my son. Jason and I have been a part of each other’s lives for
 the past 30 years as his mother and I are best friends. In other words, he is like family.

 I have so many faun memories of Jason through his life such as when he and I would spend hours
 playing the game of chess and how I was so amazed at his brilliant mind. How we would talk about his
 dreams and ambitions. I loved watching him play with the family pet and watching him giggle profusely
 while the puppy licked his face. I admired his passion and determination to further his education so that
 he could make a successful life for himself and make his family proud.

 Unfortunately, Jason’s ill‐advised and bad decisions has altered his dreams and family wishes; however, I
 do not believe all is lost. During recent conversations, he has made clear to me that he understands his
 actions are unacceptable and not an excuse for any hardships he believe to burden him. He understands
 that he MUST be a better role model and example for his beloved son, Kingsley, in order to break the
 vicious cycle and change the course of his family legacy.

 I am confident that Jason will remain on a positive path for himself and his family. Myself and his entire
 family loves Jason and will continue to support him and wish him the best outcome for this case.

 Should you need to verify any of my statements above, please feel free to call me at (678) 232‐1108.


 Respectfully Yours,

 Karen Joyce Gurley, family friend
 3461 Lantern View Lane
 Scottdale, GA 30079
Case 6:16-cr-00024-GAP-GJK Document 82 Filed 01/06/17 Page 26 of 38 PageID 866



 November 13, 2016

 Rachel Macker
 109 Mark Lane
 Atlantic Beach, NY 11509
 (386) 216‐7169
 rachel.macker@gmail.com

 Honorable District Court Judge Gregory Presnell
 Federal Courthouse
 401 West Central Boulevard
 Orlando, Florida 32801

 Re: Jason Phifer

 Dear Judge Presnell:

 Thank you for taking your time to read this letter. My name is Rachel Macker. I am a 33‐year old Senior
 Accountant at Precision for Medicine in New York, NY with a Bachelor’s Degree in Accounting from the
 University of Central Florida. I was born in New York but grew up in Debary, Florida. I've met Jason
 about 10 years ago when he began working for my brother at a marketing firm in Deland, Florida. Jason
 and I clicked instantly after quickly learning we were from the same area in New York. I’ve always said I
 would move back one day; I finally did in 2014 for my dream. It has been the best decision I’ve ever
 made, but surely not easy being away from home. Jason has been one of my very few friends to be sure
 to stay in touch, understanding the void I feel being separated from my family and friends. Since my
 move, Jason is always sure to see me while visiting his family in New York. We have shared so many
 great memories over the course of our friendship, but in Florida and New York. I am not married and I
 have no children. All I have is my family and few true friends, one of which is Jason. He has been a
 constant in my life when I have watched so many others come and go. Jason is a genuine person and
 wonderful friend.

 Some of my favorite memories of Jason where this summer when he brought his son Kingsley to visit his
 mother Alice. Jason, Kingsley, and Alice met myself and my niece at a Met's game where we dined in
 the restaurant looking over the field. That was my first time meeting Kingsley and seeing Jason interact
 with his son. It was an unforgettable experience. Walking out, we snapped this quick picture, attached
 Photo 1.

 The Fourth of July was approaching. Jason invited my niece and myself to join his family barbecue at
 Alice's house, whose beautiful home faces the neighborhood park. The adults and children were playing
 games and wildly jumping in the bounce house, laugher and smiles all around. When the sun went
 down, we had front row seats to one of the most beautiful fireworks displays I'd ever seen. My niece
 said it was one of the best days of her life! We were truly warmed by the welcoming of Jason and his
 family. At the end of our long day bouncing with the kids and playing corn‐hole with the adults, we
 snapped the picture attached, Photo 2. I will remember that day forever.

 Jason has touched my life in so many ways. Jason comes from a good home, a good family, has strong
 family‐values, and has a huge heart, qualities that seem rare to come by these days. Jason is a good
Case 6:16-cr-00024-GAP-GJK Document 82 Filed 01/06/17 Page 27 of 38 PageID 867



 person who has made poor choices. He has been extremely forthcoming regarding his legal trouble,
 and shows genuine remorse for his behavior including his plans to change his life moving forward.
 I will be there for Jason the same way he has been there for me, offering friendship, guidance, love and
 support. I respectfully request for you to see Jason through my eyes. He is a warm, kind‐hearted
 person. I hope that you are able to offer Jason some type of rehabilitation to guide him in changing his
 life while still allowing him to be close to his friends and family.

 Please forgive my absence during your court hearing. I made every attempt speak to you in person, but
 it was not possible. Again, thank you for taking your time to get to know my dear friend.

 Respectfully,

 Rachel Macker
 Rachel Macker
 Case 6:16-cr-00024-GAP-GJK Document 82 Filed 01/06/17 Page 28 of 38 PageID 868



11 November 2016

The Honorable District Court Judge Gregory A. Presnell
401 West Central Boulevard
Orlando, Florida 32801

Your Honor,

My name is Karen Joyce Gurley and I reside in Atlanta, GA where I have lived for most of my 52 years of
life. I work as a marketing professional for AT&T and lam experienced in marketing,finance and
technology. I received my undergraduate degree from Georgia State University and my MBA from Wake
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that I love dearly.

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convicted of possession with intent to distribute a controlled substance. His mother first informed me
several weeks ago during a conversation and I was deeply sadden because I DO NOT condone this
behavior. However, I love Jason as if he is my son. Jason and I have been a part of each other's lives for
the past 30 years as his mother and I are best friends. In other words, he is like family.

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Should you need to verify any of my statements above, please feel free to call me at(678) 232-1108.




Ka n Joyce Gurley,family friend
3461 Lantern View Lane
Scottdale, GA 30079
Case 6:16-cr-00024-GAP-GJK Document 82 Filed 01/06/17 Page 29 of 38 PageID 869
Case 6:16-cr-00024-GAP-GJK Document 82 Filed 01/06/17 Page 30 of 38 PageID 870
Case 6:16-cr-00024-GAP-GJK Document 82 Filed 01/06/17 Page 31 of 38 PageID 871
Case 6:16-cr-00024-GAP-GJK Document 82 Filed 01/06/17 Page 32 of 38 PageID 872
Case 6:16-cr-00024-GAP-GJK Document 82 Filed 01/06/17 Page 33 of 38 PageID 873




       4th of July Family gathering. in New York. Pictured left to right
       are Jesse Perkins, Jr. (cousin), Jesse Perkins, Sr. (uncle), Jasmine
       Perkins (cousin), John Perkins (uncle), Latonja Perkins (cousin),
       Alice Perkins (mom). Jason Phifer, center, middle.
Case 6:16-cr-00024-GAP-GJK Document 82 Filed 01/06/17 Page 34 of 38 PageID 874




                   Jason and Princess with their son, Kingsley Phifer




                 Family Photo. Left to Right, Salahdeen
                 Ashe, Jason Phifer, Princess Holmes and
                 Kingsley Phifer
Case 6:16-cr-00024-GAP-GJK Document 82 Filed 01/06/17 Page 35 of 38 PageID 875




                            Jason and Kingsley Phifer
Case 6:16-cr-00024-GAP-GJK Document 82 Filed 01/06/17 Page 36 of 38 PageID 876




                Jason and his mother, Alice - Orlando, FL
Case 6:16-cr-00024-GAP-GJK Document 82 Filed 01/06/17 Page 37 of 38 PageID 877




                        Jason with this son, Kingsley Phifer
      Case 6:16-cr-00024-GAP-GJK Document 82 Filed 01/06/17 Page 38 of 38 PageID 878




Father and son, Jason andKingsley
